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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED S'I`ATES OF AMERICA

 

-vs- Case No. 2:05cr20281-D

RICKY HUGHES

 

ORDER OF DETENT|ON PENDING TR|AL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S .C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending tn`al.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTIONS REGARD|NG DETENT|ON

RICKY HUGHES is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. RICKY HUGHES shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date'. August 15, 2005

 

TU M. PHAM
UNITED sTATEs MAGIsrRATE JUDGE

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With Fiu|e 55 and/or 32(b) FFiCrP on 8’)£2'| 15

 

 

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This notice confirms a copy ofthe document docketed as number 10 in
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Katrina U. Earley

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Honorable Bernice Donald
US DISTRICT COURT

